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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                    May 20, 2021

Albert Watkins
1200 S. Big Bend Blvd.
St. Louis, Missouri 63117
albertswatkins@kwklaw.net


       Re:     United States v. Jacob Chansley
               Case No. 21-cr-003 (RCL)

Dear Mr. Watkins:

       The government has made several productions to you via the USAfx platform and via
email for discovery in this case. This letter is provided to document those productions. Those
productions are as follows:

       PRODUCTION 1:

       On January 29, 2021, the government provided the following via email:

   -   FD-302 report of January 7, 2021 interview summary (5 pages);
   -   FD-302 report of January 8, 2021 interview summary (2 pages);
   -   FD-302 report of January 9, 2021 interview summary (3 pages);
   -   PDF containing black and white and color photographs for U.S. Capitol Police case 21-
       0033 (12 pages);
   -   2 jpg color photographs of note left on Senate dais; and
   -   9 jpg color photographs of your client’s car and its contents, photographed January 9,
       2021 at FBI-Phoenix.

       PRODUCTION 2:

      On March 5, 2021, the government provided two .mov files as video exhibits via the
USAfx portal.
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       PRODUCTION 3:

       On April 24, 2021, the government provided the following via USAfx:
   -   1 mp3 file of Chansley Telephonic Interview from January 7, 2021;
   -   One Cellebrite report from the extract of your client’s cell phone, labeled QPX8 report;
   -   One zip file labeled 195207225688269.zip containing 1.8GB of information from
       Facebook, one pdf 195207225688269.pdf containing 2.1 GB of information from
       Facebook, and one pdf affidavit provided by Facebook;
   -   One zip file labeled The New Yorker Video.zip containing 1.5GB of information from
       The New Yorker; and
   -   5 mp4 videos of Senate floor footage.

       PRODUCTION 4:

       On May 17, 2021, the government provided the following via USAfx:

   -   1 mp3 file of Chansley telephonic interview from January 8, 2021;
   -   Metropolitan Police Department Body Worn Camera videos for the following officers:

           o   Officer Anu Amen-Ra (136.5 MB)
           o   Officer Daniels (529.2 MB)
           o   Officer Farley (1.9GB)
           o   Officer Graves (466.3 MB)
           o   Officer Jean-Baptiste (478.9 MB)
           o   Officer Krycia (1 GB)
           o   Officer Lepe (132.9 MB)
           o   Officer Martin (1.3 GB)
           o   Officer Reisinger (558.6 MB)

       PRODUCTION 5:

      On May 18, 2021, the government provided five videos of Capitol CCTV footage via
USAfx.

       PRODUCTION 6:

      On May 19, 2021, pursuant to the Court’s order on disclosure of 6(e) materials, the
government provided two grand jury transcripts and ten exhibits via USAfx.

        All materials deemed “Sensitive” and “Highly Sensitive” should be treated in accordance
with the Protective Order previously entered in this case. Any videos and grand jury materials
should be considered Highly Sensitive, pursuant to the limitations in Paragraph 4 of the protective
order. See ECF No. 24.


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         Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of similarly
situated defendants, and citizen tips. The government is working to develop a system that will
facilitate access to these materials. In the meantime, please let me know if there are any categories
of information that you believe are particularly relevant to your client.

        Please contact me if you have any issues accessing the information, and to confer regarding
pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S. 83
(1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes to
light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal Rules
of Criminal Procedure, including results or reports of any physical or mental examinations, or
scientific tests or experiments, and any expert witness summaries. I also request that defendant(s)
disclose prior statements of any witnesses defendant(s) intends to call to testify at any hearing or
trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I request that such
material be provided on the same basis upon which the government will provide defendant(s) with
materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                      Sincerely,




                                                      KIMBERLY L. PASCHALL
                                                      Assistant United States Attorney
Enclosure(s)




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